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United States Bankruptcy Court

Southern District of Florida

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Iinre: STONES USA OF FLORIDA, INC. SUBPOENA IN BANKRUPTCY
PROCEEDING
/ Case No. 18-20420-RAM
Chapter 7

To: DITECH FINANCIAL LLC
c/o: C T Corporation System
1200 S Pine Island Rd.
Plantation, FL 33324

{ ] YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the place, date and
time specified below to testify in the above case.

 

PLACE OF TESTIMONY COURTROOM

 

DATE AND TIME

 

 

{ ] YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the
taking of a deposition in the above case.

 

PLACE OF DEPOSITION DATE AND TIME

 

 

[ X}] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents
or objects at the place, date, and time specified below (list documents or objects):

See attached Exhibit “A”

 

PLACE: Law Offices of James B. Miller, Esa. DATE AND TIME:
19 West Flagier Street, Suite 416 February 21%, 2019 at 10:00 a.m.
Miami, FL 33130

 

i] YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified
below.

 

PREMISES DATE AND TIME

 

 

Any organization not a party to this proceeding that is subpoenaed for the taking of a
deposition shall ¢ lesignate one or more officers, directors, or managing agents, or other persons who
consent to testify nits behalf, and may set forth, for each person designated, the matters on which the
person will testify, Fad. R. Civ. P. 30(6)(6) made applicable in proceedings by Bankruptcy Rule 2004.
See Bankruptcy bles 1018 and 9014.

 

 

ISSUING OFFICER SIGNATURE |

i

tme: Counsel to Chapter 7 Trustee

 

 

SUNG OFFERS NAME ( iter Esq enone: 305-374-0200
aopress) 19 West FRpler Street, Suite416 pate January 215! 2019
Miami, FL 33130

Jbm@title1 1law.com

 

 

 

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PROOF OF SERVICE

 

DATE: January 21", 2019

PLACE: Ditech Financial LLC
c’o: C T Corporation System
Plantation, FL 33324

Served on: Records Custodian

 

SERVED ON (PRINT NAME)
Ditech Financial LLY

MANNER OF SERVICE
US Mail & Certified Mail

 

SERVED BY (PRINT NAME)

Amado Sabina

DECLARATION OF SERVER

! deciare under penalty of perjury under the laws of the United States of America that the fore

in the Proof of Service is true and correct.

Date

Address of Server

TITLE

Paralegal

 
  

LL

Signaturé pfServer
19 West Fiagier Street
Suite 4

Miami, FL 33130

Rule 45, Fed. R. Civ. P., Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Bankruptcy Rule 9016. See also Local

Rules 7026-1 and 7027-1.

 

(c) PROTECTION OF PERSONS SUBIEFCT TO SUBPOFPNAS.

(1) A party or an attorney responsible for the issuatice and service of
a subpoena shall take reasonable steps to avoid imposing undue burden or
expense on a person subject to that subpoena. The court on behalf of
whicli the subpoena was issued shall enforce this duty and inypose upon
the party or attorney in breach of this duty an appropriate sanction, which
may include, but is not limited to, Jost earnings and 4 reasonable altoracy $
fee.

(2)(A) A person commanded to produce and permit inspection and
copying of designated books, papers, documents or tangible things, or
inspection of premises need not appear in person at the place of production
or inspection unless commanded to appear for deposition, hearing or trial.

(B) Subject to paragraph (d)(2) of this runic. a person commanded to
produce and permit inspection and copying may, within 14 davs after
service of the subpoena or before the time specified for compliance if such
time is less than [4 days after service, serve upun the party or attorney
designated in the subpoena written objection to mspection or copying of
anv or all of the designated materials or of the premises. If objection is
made, the party serving the subpoena shall not be entrtled to inspect and
copy the materials or inspect the premises except pursuant to an order of
the court by which the subpoena was issued [f objection has been made,
the party serving the subpoena may. upen notice to the person commanded
to produce, move at any time for an order to compel the production. Such
an order to compe! production shall protect any person who is not a party
or an officer of a party from significant expense resulting from the
inspection and copying commanded.

(3)(A) On timely motion, the court by which a subpoena was issued
shall quash or modify the subpoena if it

(i) fails to allow reasonable time for compliance;

(ii) requires a person who is not a party or an officer of a party
to travel to a place more than 100 miles from the place where that person
resides, is employed or regularly transacts business in person. except that
subject to the provisions of clause (cB Ui of this rule,

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such a person may in order to attend trial be commanded to travel from
any such place within the state m which the trial 1s held, ot

(ii1) requires disclosure of privileged or other protected matter
and no exception or waiver applies. or

(iv) subjects a person to undue burden.

(B) Ifa subpoena
(i) requires disclosure of a trade secret or other confidential
research. development, or commercial information. or

(ii) requires disclosure of an unretained expert's opinion or
information not describing specific events or occurrences in dispute and
resulting from the expert’s study made not at the request of any party, or

(iii) requires a person who is not a party or an officer of a party
to incur substantial expense to travel more that 100 miles to attend trial,
the court may, to protect a person subject to or affected by the subpoena,
quash or modify the subpoena or. ifthe party in whose behalf the
subpoena is issued shows a substantial need for the testimony or material
that cannct be otherwise met without undue hardship and assures that the
person to whom the subpucna is addressed will be reasonably
comperisated, fhe court may order appearaice oF prodoction only upon
specified conditions.

id) DUTIES IN RESPONDING TO SUBPOENA.

(1) A person responding to a subpoena to produce documents shall
produce them as they are kept in the usual course of business or shall
organize und label them to correspond with the categories in the demand.

(2) When information subject to a subpoena is withheld on a claim that
it 1s privileged or subject to protection as trial preparation materials, the
claim shall be made expressly and shall be supported by a description of
the nature of the documents, communications, or things not produced that
is sufficient to enable the demanding party to contest the claim.
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EXHIBIT “A”

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I. DEFINITIONS
The term “Representative” shall mean any and all agents, employees, servants,

officers, directors, attorneys, or other persons acting or purporting to act on behalf
of Ditech Financial LLC.

The term “Person(s)” shall mean the plural as well as the singular and shall
include any natural person, corporation, partnership, Joint venture, association,
government agency, and every other form of entity cognizable at law.

The terms “You” and “Your” refer to Ditech Financial LLC.

The term “Document” shall mean the original and any copy whether different
from the original by reason of any notation made on such copies or otherwise,
regardless of the origin or location, of any written, recorded, transcribed, punched,
taped, films or graphic matter, however produced or reproduced, including, but
not limited to, any correspondence, notes, logs, journals, reports, letter,
memoranda, notes, diaries, statistics, minutes, contracts, studies, checks,
statements, receipts, returns, summaries, pamphlets, prospectuses, interoffice and
intraoffice telephone calls, meetings or other communications, bulletins, printed
matter, computer printouts, teletypes, telecopies, telefax, invoices, worksheets
(and all drafts, alterations, modifications or changes to any of the foregoing);
graphic and oral record or representations of any kind, including without
limitation, photographs, charts, graphs, diagrams, illustrations, drawings,
microfiche, microfilm, video tape recordings, motion pictures, electronic,
mechanical or electrical records or representations of any kind, including without
limitation, tapes, cassettes, discs and recordings.

The term “All Documents” shall mean any document as above defined known to
you and every such document which can be located or discovered by reasonably
diligent efforts.

The term “Communication” shall mean any oral or written utterance, notation or
statement of any nature whatsoever, by and to whosoever made, including, but not
limited to, correspondence, conversations, dialogues, discussions, interviews,

conferences, meetings, consultations, agreements and the understandings between
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or among two or more people.

The terms “Identification,” “Identify,” and/or “Identity,” when used is reference
to (a) a natural individual, require you to state his or her full name and residential
and business addresses: (b) a corporation, require you to state its full corporate
name and any names under which it does business, its state of incorporation, the
address of its principal place of businesses, and the addresses of all of its offices
in the State of Florida; (c) a business, require you to state the full name or style
under which the business is conducted, its business address or addresses, the types
of businesses in which it is engaged, the geographic areas in which it conducts
those business, and the identity of the person or persons who own, operate, and
control the business; (d) a document, require you to state the number of pages and
the nature of the document (e.g., letter or memorandum), its title, its date, the
name or names of its authors and recipients, and its present location and
custodian; (e) a communication, require you, if any part of the communication
was written, to identify the document or documents which refer to or evidence the
communication, and, to the extent that the communication was non-written, to
identify the persons participating in the communication and to state the date,
manner, place and substance of the communication.

The term “Describe in Detail” shall mean to recite the information in your
possession for each separate and distinct act, instance, occurrence, or
communication, including the date, location and identity of each and every person
present or involved, and the identity of each and every communication and each
and every document which related to the act, instance, occurrence or
communication.

The term “Referring to” or “Relating to” means in any way directly or indirectly,
concerning, referring to, disclosing, describing, confirming, supporting,
evidencing or representing.

The term “And” and “Or”, as used herein, are both conjunctive and disjunctive.
All singular words include the plural, and all plural words include the singular.
All works in the present tense include the past, and all works in the past tense

include the present.
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V7.

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Each paragraph herein shall be construed independently and not by reference to
any other paragraph for the purpose of limitation.
You are required to produce all documents properly requested by the request for
production which are in your custody or subject to your control, and to use
reasonable diligence to locate and produce such documents. If any documents
cannot be located or no longer exists, you are requested to provide an explanation
and to identify the last known location and custodian of the document. If you
contend that you are entitled to withhold from review any or all documents
identified herein on the basis of any privilege, then do the following with respect
to each and every document so withheld: (a) describe the nature of the document
(e.g., letter or memorandum); (b) state the date of the document; (c) identify the
persons who sent and received the original and a copy of the document; (d) state
the subject matter of the document; and (e) state the basis upon which you
contend you are entitled to withhold the document from production.
Unless otherwise instructed, the relevant time period for all responsive documents
shall be one year prior to and through the date of filing the bankruptcy petition to
the present.
The term “Debtor” refers to Stones USA of Florida, Inc. whose last known
principal and mailing addresses was 13931 SW 39" Street, Miami, FL 33175-
6422 together with any and all, present and former agents, employees,
representatives, servants, attorneys, or other persons acting or purporting to act on
behalf of Stones USA of Florida, Inc.
The term “Estate” refers to the Debtor’s above-styled bankruptcy case.

Hl. CONTINUING REQUEST

This is a continuing request for the production of documents. At such time as you

become aware of the existence of any additional documents responsive to this Request,

you are hereby requested to produce such documents.

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Ill. DESTROYED DOCUMENTS
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If any document responsive to this Request was at one time in existence, but has

been lost or destroyed, a list should be provided of the docurnent(s) so lost or destroyed

stating the following information for each such document: (a) the type of document; (b)

the date on which it ceased to exist; (c) the circumstances of its loss or destruction, (d) the

identity of all persons having knowledge of the reasons for its loss or destruction, and (e)

the identity of all persons having knowledge of its contents.

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IV. REQUEST FOR PRODUCTION

Any and all loan agreement, promissory notes, loan application under the
Folio Number 30-4915-003-0920 and history of all payments, and the
source to all the payments made toward this account for the past five years.
Any and ail bank statements, canceled checks (legible front & bank copies
of each check) and, negotiable instruments, wire transfers (detailed
supporting documents), debit memos, all signature cards, financial
statements, credit card agreements, credit card applications and any other
memoranda in your possession, custody or control, showing or tending to
show all transactions between the Debtor and Di-tech Financial LLC, from
January 2014 through the date of your response to this subpoena request,
under (Federal Tax ID #XX-XXXXXXX). In addition to any other accounts held
by or in the control of the Debtor.

Any and ail loan agreement, promissory notes, loan application, history of
all payments and the source to all the payments. made toward this account

for the past five years, relating to the payments identified below:
